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 1                                 UNITED STATES DISTRICT COURT
 2                                       DISTRICT OF NEVADA
 3                                                  ***
 4    UNITED STATES OF AMERICA,                                 Case No. 2:17-cr-00221-JAD-EJY
 5                   Plaintiff,
                                                                           ORDER
 6          v.
 7    RUSHARD BURTON AND KEJON WARD,
 8                   Defendants.
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10          Before the Court is Defendant Rushard Burton’s letter requesting a copy of a transcript of a
11   hearing held in October 2018 (the “Letter”). ECF No. 249. Pursuant to Local Rule IA 11-6(a),
12   Defendant has appeared through counsel and as such “cannot while so represented appear or act in
13   the case. This means that once an attorney makes an appearance on behalf of a party, that party
14   [here—Mr. Burton] may not personally file a document with the court.”
15          Accordingly, IT IS HEREBY ORDERED that Defendant Rushard Burton’s Letter (ECF No.
16   249) is not properly before the Court for consideration.
17          IT IS FURTHER ORDERED that the Letter be struck from the record.
18          IT IS FURTHER ORDERED that Mr. Burton must communicate with the Court through his
19   counsel.
20          Dated this 5th day of November, 2020
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                                                  ELAYNA J. YOUCHAH
24                                                UNITED STATES MAGISTRATE JUDGE
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